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    CNN SPECIAL REPORTS

    CNN Special: The Cult of QAnon. Aired 11p-12:25a ET


    Aired February 26, 2021 - 23:00 ET

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    [23:00:00]


    (COMMERCIAL BREAK)


    ANDERSON COOPER, CNN HOST: Welcome to the CNN special report, The cult of QAnon. I'm Anderson
    Cooper. We aired our first special on QAnon last month after the inauguration of President Joe Biden in an event
    QAnon follower were led to believe would never happen. That's because QAnon is based on this fantasy that
    Donald Trump is some kind of messianic figure, waging a crusade against a secret global cabal of Democrats and
    celebrities who worship Satan, sexually abused children and harvest their blood in order to extract, ingest a
    chemical called adrenochrome.


    I know it sounds crazy but there are hundreds of thousands of people, perhaps millions who actually believe this.
    And tonight, we are going to hear directly from them. Now some say they've lost faith and no longer believe in Q.
    Others have just come up with new explanations for Trump's loss and what they say is his imminent return to
    power.


    We begin tonight with a man who is more convince than ever that a storm is coming, a great awakening he calls it.
    His name is Brian Ogstad. He said he spends a lot of time online piecing together clues to what he believes is a

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    massive conspiracy of good versus evil. Ogstad sent me a message on Instagram several weeks ago. It was brief
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    but chilling.


    You're done, he wrote. You're on the list. Execution. Bang. You're dead. You, sick evil (BLEEP).


    (BEGIN VIDEOTAPE)


    COOPER (voice over): I didn't know who Brian Ogstad was when he told me I was going to be executed. Turns
    out his Instagram is filled with postings about the satanic cabal he believes I'm somehow part of.


    BRIAN OGSTAD, BELIEVES IN QANON CONSPIRACIES: Something big is about to go down. I really believ
    that I have a lot of God has given me a lot of faith and I want to share that faith with you, and hope with you that
    all is not lost. All is not lost. And the bad guys are about to go down.


    COOPER: He says he doesn't trust any mainstream new organizations. He gets his information from online
    postings by Q followers and others who are pushing this alternative reality as truth. UNKNOWN: We're now
    seeing so many hidden things are coming to the


    surface. No longer will the ignorant be able to hide behind the mantra, but the news didn't report it. For now you're
    beginning to realize that citizen journalist, the Q researchers, the Anons on (Inaudible) are going to begin to look
    like prophets.


    COOPER: I message Ogstad via Instagram and he agreed to be interviewed by skype.


    You dm-ed me saying that I was going to be executed and that you --


    OGSTAD: Yes. I wasn't very nice.


    COOPER: You said you were going to enjoy it and then you followed up. And you said, execution, bang, you're
    dead.


    OGSTAD: Yes, I did. That was not very polite. You aren't the only one I sent that to. And I've since backed off
    because I can't prove anything about you, Anderson. All I know is there's a lot of strange coincidences. I would say
    anybody that who is high up should be showing to the world via public execution.


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    Hillary should be executed live so all of us can see the end of evil. Like I said, lesser people, we don't necessarily
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    need to see it. So like if someone who is not high up in the cabal, I don't think we need to see it.


    COOPER: But even though President Obama, President Biden.


    OGSTAD: George Bush.


    COOPER: George Bush. They all should be executed publicly.


    OGSTAD: Oh, yeah, for sure. Because they're part of this.


    COOPER: Later after the interview was done, he reached out to tell me he thinks they should all be tried in a
    military court before any executions. Ogstad says he's been' opposed to the government for 15 years. While he say
    he's not a follower of Q, he does use their slogans and hashtags and seems to believe most of their core conspiracy
    theories.


    I've seen you used hashtags for Q and slogans like the great awakening. You do believe that there is a global cabal
    of Democrats, deep state officials, celebrities, and others who are Satan worshippers and pedophiles --


    [23:05:12]


    OGSTAD: Yes. Absolutely.


    COOPER: And drinking the blood of children.


    OGSTAD: Absolutely. And I think the proof is overwhelming. The only group you forgot to list in there was
    Republicans.


    COOPER: You believe they're in on it, too?


    OGSTAD: Oh, for sure.


    COOPER: The people who have poured their lives into this cult of Q now say March 4th is the date that Trump
    will return to the White House and executions will begin the next day. Ogstad said he's not sure about the dates bu
    believes a whole series of unseen events have already taken place.

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    He thinks it's likely that the Vatican has been taken over by the U.S. military. An underground tunnel discovered
    from the Vatican all the way to Jerusalem. He also believes the pope has likely been executed. As for Washington,
    he thinks it's been turned into a prison by the National Guard and military. And that's where more executions will
    likely take place.


    The ideas that Q puts out are based on theories that have been floating around for centuries, and a lot of them are
    based on, you know, anti-Semitic, anti-Catholic tropes that have been used, you know, the Nazis said that Jews
    drank the blood of children in the late 30s. That was one of the things they used against Jews.


    In the middle ages during the plague, Jews were said to have put poison in the water and poison frogs and that was
    the source of the plague, that they were the ones to blame. My dad grew up in Mississippi in the early 30s, he was
    told that Catholics in his town had tunnels in their backyard that went directly to the Vatican. It's the same thing,
    (inaudible) tunnel from the Vatican to Jerusalem. I mean, isn't it -- aren't these just age old, you know, in some
    cases anti-Semitic tropes, anti-Catholic tropes?


    OGSTAD: Some of the things you just said sound like those are, for sure, but I can say that I can clearly see what's
    happening now. And I don't know about -- I can't verify the tunnel all the way from Vatican to Jerusalem. It was
    reported and -- so it sounds like it's a good possibility, but it could be true. It sounds far-fetched, but so does these
    political elite and Hollywood elite and business elite.


    Killing babies and drinking their blood, you know the adrenochrome. That sounds crazy. I mean, it does. If I was -
    if I was one of your listeners listening to me, I would think this guy's crazy. But I'm telling you, go look. You can
    see it at the satanic imagery, the sacrificial imagery is everywhere.


    COOPER: If you were living in Nazi Germany, you know, in the late 30s and 40s, you would think that Jews were
    drinking the blood of children. And there would be imagery of it everywhere because their posters of it, you know


    OGSTAD: Yes. And here's what I would say, there's' evidence.


    COOPER: But does it not concern you that some of these are tropes that have been out there to demonize, you
    know, the other for centuries? Jews, Catholics, whoever it may be.


    OGSTAD: I -- I don't know. All I know is the evidence is overwhelming against people who are around today. I'm
    that -- I mean -- that's all I can say.

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    COOPER: It's just a coincidence that it's the same kind of tropes?


    OGSTAD: No. I know that there's satanic -- there's plenty of evidence throughout history. You can go online. We
    can do research.


    COOPER: Ogstad sees himself as an investigator of sorts, piecing together hidden clues of this secret global cabal
    Like many QAnon followers have, he sees Donald Trump is some sort of savior.


    OGSTAD: The hope comes from everything and maybe it is a lot of the Q stuff that the cabal is falling. I see
    governments falling all over the world. I'm just trying to connect the dots. I'm not an insider. I'm just a guy with a
    laptop with too much time on my hands.


    COOPER: But that is one of the things that you feel like you're able to do now which is search and connect dots.


    OGSTAD: Yeah.


    COOPER: That's what you were actively doing that?


    OGSTAD: Yes, I am. Yes, absolutely.


    COOPER: That gives you hope that the --


    OGSTAD: Yes.


    COOPER: -- the idea that you can connect these dots?


    OGSTAD: Yes, I do. That gives me hope -- it gives me hope to believe that -- I hope on that Trump is actually one
    of the good guys and I'm hope not hope that if there is a plan, so that's Q, right, trust the plan. So, I hope not hope
    that there is a plan.


    [23:10:11]


    COOPER: Where is the evidence that he is actually been spearheading a battle against pedophiles around the
    world? He didn't talk about that really at all when he was in office.

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    OGSTAD: Yeah. I think all you have to do, to validate what I'm saying. Use another search engine. Can't find it on
    YouTube, search it on Google. The reference to Trump talking about this is one of his main agendas. You wouldn't
    know that from the mainstream media, the mockingbird media, but you can find it out.


    COOPER: The truth is President Trump rarely spoke out publicly about sex trafficking. It certainly was not one of
    his main agendas. So, why did QAnon followers see President Trump as a messiah. That's next.


    (BEGIN VIDEO CLIP)


    DONALD TRUMP, FORMER PRESIDENT OF THE UNITED STATES: It could be calm before the storm.


    UNKNOWN: What storm (inaudible)?


    TRUMP: You'll find out.


    (COMMERCIAL BREAK)


    (BEGIN VIDEO CLIP)


    TRUMP: I reached the calm before the storm. It could be a calm before the storm.


    UNKNOWN: What storm (inaudible)?


    TRUMP: You'll find out.


    (END VIDEO CLIP)


    COOPER: Those vague words about the storm spoken by then President Trump at the White House on October
    5th, 2017 are often cited as the beginning of what we know as QAnon.


    UNKNOWN: This is at a time when Iran was in the news.


    TRUMP: Thank you everybody.


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    UNKNOWN: There's a lot of tension in and around relations between United States and Iran, so a lot of focus on
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    that. And the president said something that was cryptic and strange about a coming storm and how this moment
    was the calm before the storm.


    [23:15:07]


    And the reporters in the room sort of seized on that with Iran in mind and asked sort of what storm, Mr. President.
    What are you talking about, and he was very sort of -- you know, you'll see, wait and see?


    KEVIN ROOSE, TECHNOLIGY COLUMNIST NEW YORK TIMES: Q really took off after this remark that
    President Trump made. They interpreted that as a coded signal that something called the storm was coming, and
    the storm in their minds was this day of reckoning.


    UNKNOWN: And that became one of the foundations that civil war for q, which started posting on an image
    message board a couple weeks later.


    COOPER: On October 28th, someone who later called themselves Q clearance patriot wrote on an online forum
    called 4chan which was known for anonymous or anon posts. Q (inaudible) claimed to have a high level of
    clearance called Q-clearance which comes from the Department of Energy.


    ROOSE: This was not the first Anon that had claimed to be a high ranking government insider on fortune, but Q
    clearance patriots said basically I'm a member of the Trump administration, I have this Q clearance that's high
    level intelligence clearance and I'm providing you with secret information about what's really happening behind
    the scenes in Washington. COOPER: Over the months and years, Q continued posting vague clues


    often in the form of questions and riddles. They became known as Q drops. Followers would then spend days and
    weeks trying to decipher the meaning of them. Certain catchphrases became commonly used among believers.


    UNKNOWN: Where we go one, we go all.


    UNKNOWN: They're sort of a rallying cry that is where we go one, we go all, which is an expression of solidarity


    UNKNOWN: They call each other patriots, almost universally.


    UNKNOWN: There is this reference to the calm before the storm, this idea that the storm is this moment when a

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    mass number of arrests will take place.
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    ROOSE: And everything is sort of in this like militaries s code. So POTUS is always used instead of calling him
    President Trump or Hillary Clinton in the QAnon drops is never Hillary Clinton. She's always HRC.


    UNKNOWN: There's the great awakening which refers to this period after the storm when Q believer believe ther
    will be sort of a society wide spiritual awakening.


    ROOSE: There are also things like, yeah, enjoy the show, would be sort of like watch for fireworks in the coming
    days.


    UNKNOWN: Similarly, is trust the plan.


    ROOSE: Trusting the plan is an important part of QAnon belief because there's sometimes that predictions don't
    pan out and the things that Q has said would happen don't.


    COOPER: It's not clear if anything Q has predicted has come true. The first post said that Hillary Clinton was
    about to be arrested. Q predicted other dates when this nonexistent global cabal would be exposed. There were
    supposed to be mass arrests of deep state actors and martial law, all fantasy. But it didn't seem to matter to Q
    followers. They either ignored the inconsistency or explained them away.


    TRUMP: I know nothing about QAnon. You told me. But what you tell me doesn't necessarily make it fact. I hate
    to say that. I know nothing about it. I do know they are very much against pedophilia. They fight it very hard.


    COOPER: This was President Trump on NBC news this past October. He repeatedly claimed he didn't know
    anything about QAnon, but he also praised them, giving Q followers encouragement. These Q supporters at a
    QAnon conference in Arizona cheered on Trump's words to NBC. Many Q followers believes Trump signals his
    support for them in public with hidden messages and signs.


    ROOSE: So, QAnon believers, they study all of Trump's public appearances with this kind of extreme rigor,
    looking for tiny details, these signs that he supports them. That he's listening to them. That he's sending them
    coded signals. So, for example every time he says the number 17 or uses it in anyway, they take that as a sign that
    he's talking to them, because Q is the 17th letter of the alphabet.


    TRUMP: 17. 17. 17.

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    ROOSE: I've heard QAnon believers saying that you know, Trump makes these signs with his hand when he talks,
    it's kind of looked like he's doing a Q.


    COOPER: Jitarth Jadeja was a true believer in QAnon. Now he says he's changed his mind. Says many Q
    followers' faith in Trump is limitless.


    Do you really believe that President Trump was working to attack this global cabal of Satan worshipping
    pedophiles? I mean, you believed he was actually deeply involved.


    JITARTH JADEJA, FORMER QANON BELIEVER: Yes, of course I believed that. I believed that he's been
    charged up by military intelligence that he was an avatar, right. There are people out there who believe he's a time
    traveler. There's people out there believe he's Jesus, so yeah, yeah. 100 percent.


    [23:20:17]


    COOPER: Brian Ogstad continues to believe Trump is fighting a battle against evil.


    OGSTAD: It's always been this great hate for Trump because they know he's not on the inside. You know, looking
    back on it, in hindsight, because -- I stayed away from politics. Now I'm trying to connect all these dots. They've
    hated him from day one. They've gone after him for day one and you know, why? That's my question. Why? And
    so, then I'm -- you know, to me in my mind, that's why. He's trying to shut down child trafficking all over the
    world.


    COOPER: How did the conspiracy cult based on lies and bizarre accusations grow so fast? It wouldn't have
    happened without the help of social media.


    UNKNOWN: The way in which it went mainstream is they turned these concepts into memes and things that were
    very shareable on sites like Facebook and Twitter that capture people's interest. There's a reason they call it a rabbi
    hole, right. So, the cause, in particular save the children.


    They took that slogan and coopted it and made it feel comfortable for a mainstream person to be like, yes, I want
    to help save the children. They take one click and then they learn some things and they click another and they may
    do some searches and all of a sudden they've spent hours and they have gone down this rabbit hole to a place
    where they've now been exposed to some darker theories that are not as simple as the meme they may have

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    initially found.
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    COOPER: Experts say the save the children hashtag prove to be a powerful recruitment tool for QAnon. So-called
    save the children rallies have popped up all over the country.


    UNKNOWN: You guys are attacking us. And making us look bad. We're just trying to save some of our children.
    It pisses me off.


    COOPER: The irony is that many QAnon followers have turned against the nonprofit organization save the
    children, which actually works around the globe to do exactly what Q followers claim they're fighting for, saving
    children from danger.


    UNKNOWN: Well, the problem with save the children -- and I went to my favorite store the other day, TJ Max
    and told them I would no longer be shopping there because they promote save the children, and it is own by Bill
    Gates, who is a pedophile. Who is being investigated for serious human rights violations? You know, it's just
    really, really sad that a lot of people don't know that and that don't know what's really going on.


    COOPER: Bill Gates doesn't own save the children, like all the other QAnon conspiracies, the accusations against
    him are completely baseless.


    UNKNOWN: So, you're a QAnon follower?


    UNKNOWN: 100 percent.


    COOPER: The idea of saving children, even though it's not actually happening within QAnon, could be one reason
    why so many women have joined in on the conspiracy. Terror expert Mia Bloom says that often women are first
    drawn into QAnon through popular social media sites.


    MIA BLOOM, EVIDENCE BASED CYBERSECURITY PROGRAM: We actually know that the population of
    believers in QAnon are disproportionately female. And part of the reason that's the case is, the algorithms in
    Facebook that would suggest QAnon groups were people who were interested in essential oils, natural birth,
    perhaps even yoga.


    The Facebook algorithms would then suggest other groups that were QAnon affiliated, and so the women started
    joining QAnon in greater numbers and people's Facebook feed or their Instagram feed began to be populated by al

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    this QAnon material. Once the QAnon people hijacked the hashtag save the children, that's when you started to see
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    more and more women.


    COOPER: Facebook ended up restricting the use of the save the children hashtag because of QAnon. Some expert
    say there is some similarities in the method of recruiting women between QAnon and the terror group ISIS.


    BLOOM: I spent many years in all the jihadist groups. It's this understanding that women are the primary drivers.
    Not only will they ensure that the men stay in the movement, but of course they raise the kids with those beliefs.
    And so if you want to ensure the longevity of a terrorist group, you make sure the women are on board and they
    will teach the children to be as radical as their fathers and not sort of move away from the movement. The other
    thing that's really similar, when you look at the way that


    ISIS was able to get lots of women from the West. So, they recruited young girls or girls in their 20s. The way they
    did that was, did you want to help the orphans in Syria, and so of course the women wanted to help the orphans.
    And this is again so similar to save the children.


    [23:25:00]


    It's this way of capitalizing on women's maybe inherent altruism that they're doing something good, that they think
    that they're helping, that it's not coming from this radicalization place where I want to kill people. It's coming from
    a place where I want to help people.


    ADRIENNE LAFRANCE, EXECUTIVE DIRECTOR, "THE ATLANTIC": We see a huge presence of Q
    believers on Instagram. For example, where a lot of young women are really into it. There's a big sort of overlap
    with mommy blogs and Q support.


    COOPER: Donie O'Sullivan has been following QAnon for the past year for CNN. He shows us how easy it is to
    stumble on to possible QAnon groups by simply searching on Instagram for save the children.


    DONIE O'SULLIVAN, CNN BUSINESS REPORTER: So, this is what Instagram does now. Save the children.
    You're looking for information, let say the children, if you're looking for information about the humanitarian
    organization, this is their website, Seepostanyway, Democratic socialists of America.


    So, it's like, you know, what does socialism -- the Democratic socialists of America have to do with save the
    children? The whole thing is they're trying to tie the whole to pedophilia. You don't see the real save the children

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    logo anywhere there. You don't see the real information of actually helping that organization anywhere there.
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    COOPER: Ashley Vanderbilt lives in South Carolina with her daughter. She said she became a good QAnon
    believer after watching pro-Trump videos on TikTok, which then began suggesting QAnon conspiracy videos for
    her to watch.


    ASHLEY VANDERBILT, FORMER QANON BELIEVER: I started liking a lot of Trump posts and things that
    were anti-Biden, so the algorithm must have just brought that kind of stuff to me.


    COOPER: She said she would spend hours online at night reading about QAnon theories and believing them, no
    matter how crazy they might have sounded.


    VANDERBILT: They would drink children's blood because of adrenochrome or something, but to get the
    adrenochrome they have to torture the children. I mean, I have a four-year-old. And this is like -- who can think of
    that? And they said it's when they're in pain and they are, you know, screening, it's the adrenaline is up and that's
    when they drink that blood because it does something. Something. I don't know what it does for them, but that's
    what they did. OGSTAD: If you study adrenochrome, it's just to -- like you want to


    scare the bejesus out of him and torture and torment him to raise the spike in the adrenaline which makes the blood
    much better for them to then ingest or you know, however they put it into their system.


    COOPER: Brian Ogstad takes the adrenochrome fantasy a step further.


    I saw a post recently you put on Instagram that Google is a part of a Luciferian cult. So, they are part of the cabal.


    OGSTAD: Absolutely.


    COOPER: You've also said that Google chrome is actually a reference to adrenochrome.


    OGSTAD: I believe so and (inaudible) here's a quote from Q, (inaudible) I see the words and then I think, ah-ha.
    Well that that makes sense. And one of the things that Q said was when does a coincidence cease to be a
    coincidence. So, yeah.


    COOPER: So, the fact that Google uses the word from -- that to you means Adrenochrome?


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    OGSTAD: Well, yes. And if you look at the levels of the processing unit from cisco that they used was called the
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    Adrino. So, you got processing system adrino, you got Google system called chrome, you got adrenochrome, you
    got 666 in their little things, this all Seeing Eye in the middle. I mean, like I said coincidence --


    COOPER: You believe in the Google symbol that there's a 666.


    OGSTAD: Yeah. Absolutely.


    COOPER: Why would a company, though, if they are part of a secrets cabal, why would they be naming products
    after key elements of what's supposed to be secret about, I mean a chemical that allegedly has gotten from the
    blood of children that they're drinking.


    OGSTAD: Well, I think that's a good question. And I can only answer that from what I know or what I see, and
    what one, is their arrogance that they're never going to get caught and that no one can do anything, even if they
    find it out. And then three, they're stupid. Because it's all out. It's all coming out. One of the other things Q said is
    their downfall will be their symbolism. And I think that's true. Because the symbolism is everywhere.


    COOPER: But this suppose it symbolism is fake. Look closely at what Ogstad is claiming to be the Satanic
    symbols 666 hidden in the Google chrome icon. These white lines that make it appear to look like the number 6
    don't actually exist. They appear to be added in by someone who tried to make it look like the number 6. Just
    another example of a conspiracy based on a lie.


    But what is it about the postings from Q that drew so many people in, especially during a pandemic?


    (COMMERCIAL BREAK)


    [23:30:00]


    (COMMERCIAL BREAK)


    UNKNOWN: Let me ask you a question, America. Let me ask you a question. This goes out to all America. The
    so-called doctor of the world, Dr. Fauci, OK, I haven't heard this guy mention drinking a glass of orange juice.
    He's not even taking a Flintstone fireman (ph). The guy hasn't mentioned the immune system in six months. Wake
    up! Wake up!


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    COOPER (voice-over): This QAnon supporter clearly isn't a fan of public health officials like Dr. Anthony Fauci.
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    UNKNOWN: Mr. Doctor Fauci. Dr. Fauci --


    COOPER (voice-over): Neither or a lot of other Q supporters.


    Many view Dr. Fauci and the coronavirus pandemic itself as part of yet another conspiracy. To them, China, the
    World Health Organization, and of course, the so-called deep state, are involved in a secret plot against America
    with a virus that may or may not be real.


    LAFRANCE: The pandemic was sort of a gift for QAnon in a way because it presented this full other subset of
    conspiracy theories for Q to gobble up, which is what this conspiracy does best, right? It sort of eats up all the
    other conspiracy theories out there.


    But the universe of Q believers also seized on this idea that the pandemic was fake or that the United States and
    China secretly worked together to unleash it because of the -- quote, unquote -- "deep state."


    TRUMP: Thank you very much.


    LAFRANCE: Fauci became a central villain among the Q crowd in part because there was a clip early on in the
    pandemic where President Trump had a press briefing and Fauci was behind and President Trump said something
    referring to the deep state and you see Fauci standing behind him sort of going like this --


    TRUMP: So does anybody have any question?


    LAFRANCE: -- like kind to suppress a chuckle.


    [23:35:00]


    LAFRANCE: And that was all over the Q networks with people seizing on Fauci as being against Trump in their
    view.


    There's also a longstanding conspiracy theory that is against scientifically proven to be effective vaccine. So, the
    anti-vax movement sort of very easily fell into the Q universe when the pandemic began.


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    UNKNOWN (voice-over): But fear is powerful.
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    BLOOM: It shouldn't be surprising at all that the people who believe in QAnon also tend to be anti-vax or anti-
    mask or they were trying to get the country to open up sooner than was readily available or safe by medical
    standards.


    And so there's this overlapping nature of QAnon where this complimentary or adjacent conspiracies are folded into
    QAnon, so the QAnon represents not just one conspiracy but several conspiracies that are connected to it.


    COOPER (voice-over): The pandemic helped fuel the Q cult, partly because people simply had more time at home
    with not much else to do but turn to the internet.


    Former QAnon believer Ashley Vanderbilt says she was laid off after the pandemic hit, which she believes made
    her more vulnerable to falling into the cult.


    VANDERBILT: I think I spent a lot of time this year isolated from everybody. You know, I've just been home a lot
    I've lost my job last April in 2020. And so, I'd sit at home a lot. I was super depressed. I mean, just because you're
    not around anybody. And I think in a way, I probably lost touch with a little bit of reality and almost like common
    sense.


    And so, I'm not so much embarrassed for what I believed but -- I mean, I feel foolish. I just feel like how could
    you have -- how could you have done that? How could you have thought that way and gone to the extreme with it?


    UNKNOWN: (INAUDIBLE).


    LAFRANCE (voice-over): I think combined with the social isolation that the pandemic brought on, the stress of
    everything associated with the pandemic, people lose their jobs, people are scared of this virus that you can't see,
    you can't control.


    TRUMP: Whatever happens, we're totally prepared.


    LAFRANCE (voice-over): People are not sure who to trust for the information about the virus. You know, the
    president says one thing, the CDC says something else, and that created a lot of fear and a lot of stress on people.


    And we know that when people experience certain stressors, that can be a pathway to radicalization as people were

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    spending more time on their computers, away from their friends, they're not doing a happy hour anymore, they're
            Home                                                                                       Live TV
    not going to the little league game, they're just at home and they're online a lot, and they're searching for answers
    and they're looking for ways to gain control in a world that seems completely out of control.


    And that's when you started to see kind of this exponential growth of QAnon and the polls starting to indicate that
    it had gone mainstream.


    UNKNOWN (voice-over): That's it.


    COOPER (voice-over): How Q supposedly communicates also help fuel its growth. The postings which are called
    Q drops are often cryptic in nature. They're vague, seemingly presented as puzzles that loyal followers can solve o
    decode.


    ROOSE: Once a new Q post appears, there is this app, this Q drops, that the people use to get alerted ever time.
    And immediately, they will take screen shots and post them in Facebook groups and chat rooms, and they'll start
    trying to kind of decipher it and make sense of it all to figure out how it connects to the larger QAnon narrative.


    LAFRANCE (voice-over): These clues that Q leaves are written in really ambiguous and cryptic terms, which is
    part of what people are drawn to, right, like, people want to sort of do the research. You hear this again and again.
    They want to do their own research and pour over these clues and interpret them.


    COOPER (voice-over): This is an example of a Q drop from September of 2018.


    ROOSE (voice-over): It starts with all caps line that says panic in D.C. Then it says LL talking equals truth, reveal
    Tarmac, B.C. So, this is basically a reference to Loretta Lynch, the former attorney general under President Obama
    in some sort of truth that Q is saying was revealed in a conversation with B.C., which is Bill Clinton, on the
    Tarmac.


    It continues LL talking equals truth reveal Comey HRC e-mail case. Comey is, of course, James Comey, the
    former FBI director. LL talking truth equals truth reveal Hussein instructions re: HRC e-mail case. LL talking
    equals truth reveal Brennan no name coord to frame POTUS?


    [23:40:02]


    ROOSE (voice-over): FISA equals start. FISA brings down the house. When do birds sing? Q. So as with most Q

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    drops, this one doesn't have a clear hint or narrative. It's coded. It's sort of written in this cryptic language.
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    But basically, the message that people take from this is that there's some nefarious link between Loretta Lynch, the
    former attorney general, this Clinton e-mail case, John Brennan, the former CIA director, and a plot against
    President Trump.


    When do birds sing is sort of a cryptic reference to like, you know, when do people confess to their crimes, when
    does the storm happen in this house of cards that this global cabal has erected comes crashing down.


    (On camera): So when you're part of QAnon, you are not just absorbing things that people tell you, you are out
    there, you are digging, you are trying to put together pieces of this puzzle, and then you are congratulated for
    finding stuff. It's almost like a video game.


    COOPER (voice-over): A video game based on lies, played by potentially hundreds of thousands of followers or
    more around the world.


    ROOSE: One thing that I learned when I started spending a lot of time in QAnon chat rooms and forums and
    Facebook groups is that this is really social for them. This is a kind of collaborative truth-seeking effort and it's a
    community.


    They make friends with other QAnon believers. They congratulate each other on their birthdays and wish each
    other happy holidays and talk about how their grandkids were coming to visit next week. For a lot of believers, thi
    has become their primary social life.


    And so, they get more out of it than just politics. They get affirmation, they get friendships, they get meaningful
    sort of missions that they feel like they can be a part of.


    LAFRANCE (voice-over): What surprised me was the number of people I met who, yes, they were pro-trump, but
    more than that, they were deriving this sense of spiritual satisfaction from Q. There was a lot of people sort of, you
    know, I heard from people that they felt a sense of peace or serenity in their lives that they didn't have before they
    started getting into Q.


    And that's what really led me to understand that this isn't a political movement. It isn't only conspiracy theory but
    really it takes on the contours of a baby religion born on the internet.


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    It raises questions sort of about like what's a religion versus what's a cult versus what's a conspiracy theory versus
             Home                                                                                     Live TV
    what's a mass delusion, and I think you see pieces of all those things in Q.


    COOPER (voice-over): Jitarth Jadeja says he was a QAnon follower for almost two years. But he says after
    watching Q's predictions repeatedly fail and realizing Trump's so-called signals to QAnon weren't signals at all,
    he's now realized it was all made up.


    JADEJA: I'd say that Q is kind of like Jesus and Trump is kind of like a god figure, right? For me, personally, the
    part that was really appealing was that in a sad kind of way, this kind of gave me some joy and a sense of
    optimism. You know, I was looking at the world and it was just so chaotic and so -- everything was so negative an
    there were just bad things happening all the time.


    And I just -- the idea that we could somehow make the world a better place for all of humanity just really gave me
    a sense of optimism. So that was the irony of the situation, that my life was so sad and I was so sad that I was
    looking to Q for joy, as well as a sense of belonging just like any cult, you know, they prey on the vulnerable and
    the disaffected. That's exactly what happened.


    COOPER (voice-over): Considering some believed they were fighting to save children, it's no surprise this online
    conspiracy could result in real world violence.


    (COMMERCIAL BREAK)


    [23:45:00] (COMMERCIAL BREAK)


    UNKNOWN: Q is -- is a -- a real thing.


    UNKNOWN: Bill Clinton is a pedophile.


    UNKNOWN: They're killing our children and using their blood (INAUDIBLE) sacrifice to the Hollywood.


    COOPER (voice-over): A bizarre and false theory that a global cabal of Satan worshipping Democrat leaders and
    celebrities are trafficking in children and harvesting their blood is at the core of the QAnon conspiracy theory. But
    there are many other far-out claims made by Q followers.


    ROOSE (voice-over): It is branched in many different directions and now you'll QAnon believers talking about

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    everything from the illuminati to aliens and area 51 to control of the banking system by George Soros and other
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    shadowy mostly Jewish financiers. They believe in power.


    LAFRANCE (voice-over): I've heard everything from the idea that John F. Kennedy, Jr. is still alive and secretly
    supports Trump to John F. Kennedy, Jr. was assassinated by Hillary Clinton.


    JACOB CHANSLEY, QANON BELIEVER: When it comes to Hillary Clinton, all you have to do is look into the
    e-mails and the way that she's involved in spirit cooking with Marina Abramovic who is known satanic witch.
    Hillary Clinton is a satanic witch, OK?


    COOPER (voice-over): You may recognize this guy, so-called QAnon shaman. This is him at a rally in Arizona
    two days after the election. His name is Jacob Chansley. He's been seen at other Trump rallies, as well.


    CHANSLEY: Freedom.


    COOPER (voice-over): On January 6, he was front and center in the attack on the Capitol. Chansley has been
    arrested and charged for his alleged role in the riots. Prosecutors say among other things, he obstructed a police
    officer. They also say he told the FBI that Vice President Mike Pence was a child trafficking traitor. Chansley's
    lawyer says he wasn't violent and didn't cross police lines.


    LAFRANCE (voice-over): We have evidence that this is a dangerous conspiracy theory, most recently on January
    6, when we saw people brandishing Q signs and perpetrating Q's messages as they storm the U.S. Capitol. I mean,
    there was evidence before that that Q was dangerous, but it is abundantly clear now that this is a dangerous and
    violent movement.


    [23:50:04]


    COOPER (voice-over): This man running after a Capitol Hill police officer is named Doug Jensen. He was also
    arrested and charged for his alleged role in the attack. He is wearing a Q shirt with a motto, trust the plan. He's
    pleaded not guilty to all the charges against him.


    ROOSE (voice-over): We've seen lots of incidents of violence and law breaking related to QAnon and inspired by
    QAnon. There have been murders, there have been kidnappings, there have been threats against lawmakers in the
    name of Q.


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    COOPER (voice-over): In March 2019, this man allegedly shot and killed a reputed mafia member in New York
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    City. He told his lawyer that the victim was a member of the deep state working to bring down President Trump.
    At his arraignment, he flashed a Q symbol that he drew on his hand. He has been charged with murder and has
    pleaded not guilty.


    Another Q follower caused an armed standoff near the Hoover Dam in June of 2018, demanding the release of
    government report on Hillary Clinton's e-mails. He pleaded guilty to terrorism charge.


    Though some in the Republican Party have spoken out against QAnon, others seemed to be trying to appeal to its
    followers. In August, the Texas GOP started using the slogan we are the storm, the same terms as used by Q
    followers. The Texas GOP denies any connection to QAnon but continued to use the term, even after the attack on
    the Capitol.


    Nearly two dozen Republicans across the country who engaged with the QAnon conspiracy ran for office in the
    2020 election. Marjorie Taylor Greene is from Georgia.


    REP. MARJORIE TAYLOR GREENE (R-GA): Marjorie Taylor Greene for Congress.


    (Voice-over): Now, Q is a patriot. He is someone that very much loves his country and he is on the same page as u
    and he is very pro-Trump, OK? Now, he appears to have connections at the highest levels, all right? He has posted
    many things that seem to verify that he is the real deal.


    COOPER (voice-over): Lauren Boebert is from Colorado.


    REP. LAUREN BOEBERT (R-CO): Everything I've heard of Q, I hope that -- I hope that this is real.


    COOPER (voice-over): Both women are now serving in Congress. Boebert has since said she is not a follower of
    QAnon.


    UNKNOWN (voice-over): Congressman Greene --


    COOPER (voice-over): And after calls for her to resign from office, Greene has now said publicly she doesn't
    believe in QAnon.


    GREENE: I stumbled across something and this is at the end of 2017 called QAnon. Well, these posts were mainly

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    about this Russian collusion information. A lot of it was some of what I would see on the news at night, and I got
            Home                                                                                      Live TV
    very interested in it. Later in 2018, when I started finding misinformation, lies, things that were not true in this
    QAnon posts, I stopped believing it.


    COOPER (voice-over): But even after 2018, when she said she stopped believing --


    UNKNOWN: Are you still involved with QAnon?


    COOPER (voice-over): She was still pushing QAnon conspiracies and defending QAnon believers.


    GREENE: I think it's unfair to criticize regular American people that just -- are looking things up on the internet.


    COOPER (voice-over): Marjorie Taylor Greene has successfully fundraised off the controversies surrounding her
    affiliation with QAnon. Others who are referred to as QAnon influencers have also profited off the rise of this
    conspiracy.


    BLOOM (voice-over): It's probably important to make the distinction between the rank and file followers and Q.


    UNKNOWN: Look it up.


    UNKNOWN: It's community.


    BLOOM: And people who were either influencers for QAnon or the people who are making a lot of money from
    QAnon materials. The influencers sometimes were selling Q-branded materials or Q books, or they were diverting
    funds to Stop the Steal.


    COOPER (voice-over): Online retailers like Amazon and Etsy have recently made moves to take down QAnon-
    themed products. But there are still many other places to find the merchandise, still money to be made off the
    QAnon cult.


    UNKNOWN: It was everybody. We don't know who particularly Q is. Q is a movement, OK? It says think for
    yourself. It doesn't tell you to follow one leader. You can think about what you want with Q. But I follow the facts
    and I follow with the basic. And I think for myself as an American.


    COOPER (voice-over): Q still is at this point an anonymous message board poster. It's not known who he or she is

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    or even if it's a single person or foreign government attempting to sow division.
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    ROOSE: The really interesting thing for me is that I talk to a lot of QAnon believers who say it doesn't matter to
    me who Q is. The identity of this person or even whether he is the same person all along seems to have become
    secondary in this case. It is sort of they're curious who it is but they would almost rather not know because it
    allows them to preserve the illusion.


    LAFRANCE: The more people I talked who really deeply believe in it just didn't care because it was sort of, like,
    what if you find out tomorrow the person who is Q admits it was all made up, and I heard again and again and
    again from people who just said it doesn't matter who Q is, this is so much bigger than Q.


    [23:55:04]


    COOPER (voice-over): What is it like to be named by Q? Find out what happened after Q posted this question.
    Who is A. Cooper?


    (On camera): You actually -- you actually believed that I was drinking the blood of children.


    (COMMERCIAL BREAK)


    UNKNOWN (voice-over): What's going on with Tom Hanks?


    UNKNOWN: You guys want me to explain everything today, huh? Dude, it's all suspicion, that's suspicion.


    UNKNOWN: How do you know Tom Hanks is --


    UNKNOWN: How do you not know?


    UNKNOWN: You're reporting --


    UNKNOWN: -- non-fact.


    COOPER (voice-over): Tom Hanks is just one of dozens of celebrities that Q supporters have accused of being
    part of the so-called global cabal. There is no evidence, of course. No reason at all to believe these sick claims. Bu
    that doesn't matter to believers in the cult of QAnon.

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    UNKNOWN (voice-over): But you have him on your sign, you're calling him a pedophile.


    UNKNOWN: Yes.


    UNKNOWN (voice-over): But you don't know that for a fact.


    UNKNOWN: How did he get to position of power?


    COOPER (voice-over): Some of the celebrities who have been attacked by QAnon have been critical of President
    Trump in some way. Others were simply thought to be Democrats.


    ROOSE: So, Q has explicitly called out members of this global cabal who they say include people like Tom Hanks
    and Chrissy Teigen. These people are selected not randomly but because people find things, references in their
    social media posts, photos of them from a decade or two ago or with Bill Clinton, someone who's at the heart of
    this theory.


    They will turn these people into enemies, and they will viciously harass people. Once they fixate on a target, then
    they all go on social media, they swarm that target. I've been the target of it. It's happened to a lot of reporters,
    political pundits, celebrities and it's very unpleasant to be on the receiving end of that.


    COOPER: Q first posted about me November 5th, 2017, asking the question, "Who is A. Cooper?"


    This came two days after I was on the air reporting about indictments in the Russia investigation. Once mentioned
    by Q, followers of this conspiracy cult went to work, inventing a bizarre story about my life.


    According to Q followers, my mom, Gloria Vanderbilt, was a Satanist, they pointed to this photo taken when I was
    about 6 years old. That Mexican folk art on the wall behind us is the Virgin Mary with Christ but they said it was
    Satanic and the Christ figure was a child they had sacrificed.


    They also claimed I had been molested, likely in this empty pool in an old mansion in what Q followers said was
    my mom's house. It's actually an old Vanderbilt estate in Asheville, North Carolina, and neither I or as far as I
    know my mom had ever been to.


    Q followers posted this illustration. They said it was me as a child being abused in that pool. The CIA had

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    allegedly trained me as a super-secret CIA agent infiltrating the media as part of a 1960s-era CIA program,
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    allegedly called Operation Mockingbird.


    The confirmation: according to Q supporters, the necklace my mom wore in that old photo looked like it could be
    from Guatemala. The CIA had supported a coup in Guatemala in 1954.


    I was also called a pedophile. Phony flight logs purported to be from convicted sex offender Jeffrey Epstein's
    airplane appeared online with my name and dozens of other well-known people.


    It's all made up, of course, but QAnon supporters seem to believe it or at least use it to try to harass me.


    Jitarth Jadeja was a believer until June 2019.


    COOPER: Did you at the time believe that Democrat, high level Democrats and celebrities were worshipping
    Satan, drinking the blood of children?


    JITARTH JADEJA, FORMER QANON BELIEVER: Anderson, I thought you did that. And I would like to
    apologize for that right now. So, I apologize for thinking that you ate babies. But, yes, 100 percent.


    COOPER: You actually -- but you actually -- you actually believed that I was drinking the blood of children?


    JADEJA: Yes, I did.


    COOPER: Was it something about me that made you think that?


    JADEJA: It's because Q specifically mentioned you and he mentioned you very early on. He mentioned you by
    name. And from there, if -- he also talked about, like, for example, like your family. Yes, I'm going to be honest,
    people still talk about that to this day.


    I -- there were posts about that just four days ago. So, some people thought you were a robot.


    COOPER: You really believed this.


    JADEJA: I didn't just believe that, I, at one stage, believed that QAnon was part of military intelligence, which is
    what he says. But on top of that, that the people behind him were actually a group of fifth dimensional,

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    interdimensional, extraterrestrial, bird aliens called blue avians.
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    I was so far down in this conspiracy black hole that I was essentially picking and choosing whatever narrative that
    I wanted to believe in.


    COOPER (voice-over): Jitarth Jadeja says he no longer believes in QAnon but there are hundreds of thousands,
    some even suggest millions of others, who are still trusting the plan and still trusting that members of this so-called
    cabal, including me, will be executed, even if Donald Trump is no longer in the White House.


    UNIDENTIFIED MALE: I can't prove anything about you, Anderson. All I know is there's a lot of strange
    coincidences.


    (MUSIC PLAYING)


    (COMMERCIAL BREAK)


    [00:05:00]


    (MUSIC PLAYING)


    UNIDENTIFIED MALE: Do you have any regrets about your presidency?


    COOPER (voice-over): When president Trump left the White House on January 20th, many QAnon believers wer
    stunned. Nothing they'd been promised had come to pass.


    "We were promised arrests, exposures, military regime, classified documents. Where is it?" one online message
    read.


    ELIZABETH NEUMANN, FORMER DHS COUNTERTERRORISM OFFICIAL: It was phenomenal to watch
    what was happening online. There was a complete meltdown of QAnon followers.


    There was this belief that, while they weren't able to stop the election from being certified by the Congress, what
    was going to happen next was president Trump was going to declare martial law at the last minute, he was going to
    issue a national emergency broadcast alert, that electricity was likely to go down, water was likely to go down. So
    everybody needs to stockpile food and water and be able to survive in the winter for a couple of weeks.

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    And then president Trump would rightly take his place for his second term as president and there would be no
    President Biden.


    JOE BIDEN (D), PRESIDENT OF THE UNITED STATES: I, Joseph Robinette Biden Jr., do solemnly swear.


    COOPER (voice-over): But as we've seen with many QAnon followers in the past, false predictions don't deter
    them, and conspiracy cults' beliefs simply evolve. Many are now claiming Trump will make a return to the White
    House. Others claim he's still secretly running the government. One 4chan user wrote, "Anything that happens in
    the next four years is


    actually President Trump's doing."


    It's now harder to find QAnon content on the internet. Major social media companies have decided to crack down.
    Twitter says it has banned more than 70,000 accounts for promoting Q.


    Facebook says, since August, they've removed more than 18,000 profiles and more than 27,000 Instagram
    accounts for violating its policies against QAnon. But there are other platforms where QAnon is thriving.


    DONIE O'SULLIVAN, CNN TECH CORRESPONDENT: What we've seen is since -- after the insurrection, when
    Twitter and Facebook already started kicking off a lot of QAnon accounts, seen a lot of QAnon followers move to
    platforms like Gab. Gab's been a social media platform that's been around few years.


    It's pretty much one of the most hate-filled platforms out there.


    [00:10:00]


    O'SULLIVAN: So this one QAnon group on Gab, called QAnon and the Great Awakening, it has more than
    200,000 members. And if you're in it, you basically live in a parallel universe.


    If we go through it here, people are posting to this group basically every few minutes, sometimes every few
    seconds. Everything in this group is basically designed to grab you further and further, drag you further and furthe
    down the QAnon rabbit hole. It's sort of perfect example of what you see in groups like this, right?


    It is -- purports to be a picture from a livestream of the White House, probably at some hour of the very late at

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    night, when maybe the lights of the White House are turned off, maybe those front flood lights or ultimately might
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    be an image that's just totally been doctored.


    But you can see there, the guy is saying, looks like lights are out at White House yet again for like so many days in
    a row. Q did say something about, if the lights go out, please know we are in control.


    So, you can see there is that this is a person who is really trying to cling onto that belief, that QAnon is something
    real. And this was just posted, you know, several weeks after Biden has been inaugurated.


    DONALD TRUMP, FORMER PRESIDENT OF THE UNITED STATES: Thank you, everybody.


    QUESTION: Is it a fact you won't honor --


    COOPER (voice-over): Trump leaving the White House hasn't changed Brian Ogstad's belief that members of the
    cabal will be exposed and even executed.


    COOPER: You believe that there will be public executions of people in the -- this cabal? And if I was in it, I would
    be publicly executed?


    BRIAN OGSTAD, QANON BELIEVER: If, Anderson, like that's an if, you're saying you're not and you told me
    you're not, and I'll take your word for it, I don't have any proof.


    But I would say anybody, anybody that who is high up should be shown to the world via public execution. I can't
    prove anything about you, Anderson. All I know is there's a lot of strange coincidences, like the imagery above
    your mother's bed, the -- you know what I'm talking about.


    COOPER: Right.


    OGSTAD: The imagery above your mother's bed with you and your brother sitting on the bed, as the satanic
    imagery with this child or person being sacrificed. I mean, there's that.


    COOPER: My mom was raised -- she was baptized both Catholic and Episcopalian by competing relatives and she
    liked folk art. That's an old Mexican folk art representation of the Virgin Mary, the sacrifice part of it, because I
    still have this thing in my basement, It's in my mom's stuff, is Jesus Christ after he's been taken off the cross. He's
    an adult, he's lying there with the wounds.

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    So, it's the Virgin Mary looking over Christ off the cross. And -- but it's interpreted as being a satanic child
    sacrifice.


    OGSTAD: Yes, I got you. Like I said, I'm -- I backed off a lot of that, because I sent a lot of crazy messages on
    because -- as you can imagine, when you see all of this stuff, it can -- babies getting killed, it can make you kind o
    angry.


    So yes, also, right, I did apologize to you after that. And I -- because I can't prove any of it, I don't know if it's true
    But there's certainly things like that, that I guess were misconstrued, we could say.


    COOPER (voice-over): Whatever Brian Ogstad thinks about me now, he's still convinced there is a global cabal
    out there and he thinks some of them have already been arrested.


    COOPER: You think it's possible that Hillary Clinton has already been arrested, there's a double of her out there;
    same with Biden, that Biden has been overthrown but there's a double of him?


    OGSTAD: Yes, I think those are possible, I really do. And like I said, you don't have to -- and like I said, I told you
    before we started this, a lot of stuff I'm going to say sounds crazy.


    It sounds crazy to me when I say it out loud. But if you go and you look at the evidence you can find, you see that,
    OK, this is plausible. And I can't think of any other excuse for why she would still be walking around, her, Biden -
    -


    COOPER: But it is really plausible -- OGSTAD: The Bushes.


    COOPER: Where in life have you ever seen a body double for months on end that works?


    I know Saddam Hussein allegedly had a double here or there.


    OGSTAD: Yes, I don't -- I -- like I said, I -- maybe, because most of these people just do brief appearances, you
    know what I mean, it's not like they stand out and go out in public and --


    COOPER: I -- honestly, I interviewed Biden a couple of nights ago, face-to-face and I got to tell you, it was Joe
    Biden.

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    OGSTAD: OK.


    COOPER (voice-over): Trying to be rational with Ogstad, as with many conspiracy theorists, doesn't get you very
    far.


    [00:15:00]


    COOPER (voice-over): The last I heard from him, he told me he was praying for me.


    OGSTAD: I'm really hopeful, Anderson, that everything you just told me is true. I'm hopeful -- I'm hopeful that it
    is true and I'm hopeful that you're actually one of the good guys in all of this, that you're actually working behind
    the scenes to help goodness win over evil.


    COOPER (voice-over): Ashley Vanderbilt considers herself to be one of the lucky ones for making it out of
    QAnon. She says in the end, the continued online chatter about Trump's return to power just didn't make any sense


    ASHLEY VANDERBILT, FORMER QANON BELIEVER: I already started seeing posts of, well, this is how it's
    supposed to happen. The inauguration is supposed to happen. Treason has been committed now.


    And you know, putting out that hope that Trump will still come back. And I looked at my fiance, he's like, you
    need to stop watching those videos. And I was like, I don't think I'm going to believe it.


    And he's like, OK, why?


    And I was just like, for some reason, reasoning and logic came to me.


    (LAUGHTER)


    VANDERBILT: And so, I was just like it doesn't make sense that a president could be sworn in. It doesn't make
    sense that all of this is happening. And then all of a sudden, Trump's going to come back March 4th and it's going
    to change. I was like it just -- it doesn't seem right.


    COOPER (voice-over): There are, however, plenty of others still out there in the U.S. and around the world who
    think it does seem right. Some experts fear they may migrate over to other fringe extremist groups.

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    NEUMANN: Here's the dangerous part, the white supremacists and the antigovernment extremists started to
    realize that this was likely to happen after January 6th. They weren't able to stop Biden from being approved by
    the Congress.


    And so, there was this disheartening moment for many in the -- of Trump supporters as well as QAnon supporters.
    So, you started to see the white supremacists come up with recruitment techniques.


    And they started hosting on their sites to educate other white supremacists on how to approach a disheartened
    QAnon adherent, how to approach a disheartened Trump supporter. They have to feed their grievance, make sure
    that they stay angry, make sure that they put blame on the system, on the government, on Trump itself.


    So, they're looking to recruit.


    KEVIN ROOSE, "THE NEW YORK TIMES": The hard part about leaving QAnon, though, is, once you've
    started to see the world in the way that QAnon followers see the world, as a series of lies being told by elites, it
    becomes very hard for them to trust in mainstream authorities ever again.


    They sort of have this idea that the knowledge that they're being fed is not real and that they have to go looking for
    their own sources of truth.


    COOPER (voice-over): And many of those sources are now heralding a new day of reckoning close at hand.


    UNIDENTIFIED FEMALE: Trump will take office as the 19th President of the United States on March 4th, under
    the restored republic.


    (MUSIC PLAYING)


    (COMMERCIAL BREAK)


    [00:20:00]


    (MUSIC PLAYING)


    (BEGIN VIDEO CLIP)

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    UNIDENTIFIED MALE: Executions will be happening on March 5th. That's a big statement. And I'm really
    looking forward to it.


    (END VIDEO CLIP)


    COOPER (voice-over): QAnon supporters have been waiting for this imaginary global cabal of pedophiles to be
    exposed and punished since the beginning of the movement. Some still cling to this belief and are preparing
    themselves now for the 4th and 5th of March.


    O'SULLIVAN: The big belief among -- the thing you see a lot of chatter about right now, is this idea that on the
    4th of March, Trump is going to come back and that on the 5th of March there will be public executions of
    Trump's political enemies.


    COOPER (voice-over): These new dates are based on a law from 1871, that established a government for
    Washington, D.C. Conspiracy theorists incorrectly believe that any president who was sworn in afterwards is
    illegitimate.


    The last legitimate president in their eyes was Ulysses S. Grant, who was sworn in on March 4th, 1869. They now
    believe Donald Trump will return and be sworn in on that date next week as the real 19th President of the United
    States.


    Nearly 9,000 National Guard troops will remain in Washington, D.C., through March 12th, partly because of fears
    of QAnon violence on the 4th.


    UNIDENTIFIED MALE: Hey, hey, hey, it's your favorite truth seeker, holding the light for everyone out there
    who has given up hope that Trump is not the president of the United States of America, when, in fact, he is.


    COOPER (voice-over): These videos are posted on TikTok.


    UNIDENTIFIED MALE: Hey all you patriots out there, Trump supporters. I just wanted to say this, keep the faith
    I really believe that something is coming. Something big is coming soon.


    COOPER (voice-over): TikTok has made moves to ban QAnon content but it still finds its way onto the site.


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    O'SULLIVAN: People aren't just posting stuff now that says QAnon, you know. They're posting these types of
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    messages. It's all this sort of QAnon adjacent, QAnon world of conspiracy.


    This is another example, you know, somebody trying to claim that gallows are being built outside the White
    House, again, pushing this whole ridiculous narrative that there's going to be public executions when Trump come
    back in March.


    This scaffolding is actually the press rising where the media was on Inauguration Day. You go into the comments
    here and, to be fair, even on Gab, even on a platform which is just full of misinformation, sometimes people will
    call this stuff out and say, no, that's actually the media. But then other people just go along with it.


    [00:25:00]


    They just say, you know, yes, that makes sense. But what we do know is that a lot of people read this stuff and they
    really, really, really believe it.


    COOPER (voice-over): There have always been conspiracy theories, but never before have they been able to
    spread so quickly. Just a few clicks can take you down a rabbit hole of deranged, sick fantasies and dangerous
    beliefs.


    But the cult of QAnon shows us that even the most ludicrous and disturbing ideas can find an audience online.
    And in the real world, the results can be tragic.


    UNIDENTIFIED MALE: I will die for my country, my family and my friends. Ain't going to be nothing else.
    They ain't going to win. You don't want none of this.


    (MUSIC PLAYING)


    (COMMERCIAL BREAK)




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